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                  UNITED STATES DISTRICT COURT
          MIDDLE DISTRICT OF FLORIDA – ORLANDO DIVISION


   Liberty Mutual Insurance Company and
   Great American Insurance Company,
                                                 Civil Action No.: 6:24-cv-2180
               Plaintiffs,

                      -against-

   Orlando Museum of Art, Inc., and Pierce
   O’Donnell, Taryn Burns, and William Force,
   and Basquiat Venice Collection Group, an
   unregistered de facto partnership.

              Defendants.



          PLAINTIFFS’ MOTION TO REMAND TO STATE COURT




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  December 27, 2024
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                            PRELIMINARY STATEMENT

        Plaintiffs Liberty Mutual Insurance Company and Great American Insurance

  Company submit this memorandum, pursuant to 28 U.S.C. § 1447(c), in support of

  their motion to remand this case to the Circuit Court of the Ninth Judicial Circuit in

  and for Orange County, Florida. This case should be remanded for the following

  reasons:

        First, Defendant Basquiat Venice Collection Group (“BVCG”), a de facto

  partnership of Defendants Pierce O’Donnell, Taryn Burns, and William Force

  (collectively, the “BVCG Defendants”), removed this case to federal to court prior

  to their having been served, presumably on the basis of “snap removal.” Pursuant

  to Middle District of Florida and 11th Circuit precedent, however, snap removal is

  improper and this case must be remanded.

        Second, there is ongoing litigation in state court that underlies this

  declaratory judgment action. In the state court action, OMA is currently litigating

  the issue of, inter alia, whether the subject artworks are counterfeits, and the

  damages arising if the artworks are counterfeits or are instead bona fide. The same

  issues implicated in the state court action would be litigated here—including the

  factual question of whether or not the works are counterfeits. Since the parties

  herein are directly or indirectly involved in the state court action (as potentially at-

  risk insurers, on the one hand, and as parties and witnesses, on the other) it simply



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  makes no sense for this case to be litigated in two different fora, and permitting

  such dual-track litigation will not only compound the costs of litigation and

  expenditure of judicial resources, but also risk inconsistent outcomes.

        Finally, Plaintiffs and OMA are entitled to their costs and fees in having to

  bring this motion to remand. As snap removal is improper in this judicial district

  and the forum defendant rule has not been waived, such that the BVCG Defendants

  lacked an objectively reasonable basis for removal, and in turn warranting an

  award to Plaintiffs and OMA of their costs and fees in bringing this motion.

                RELEVANT FACTS AND PROCEDURAL HISTORY
  The Parties
        This case has seven parties (two plaintiffs and five defendants):

           • Plaintiff Liberty Mutual Insurance Company is incorporated in
             Massachusetts and has its principal place of business in
             Massachusetts;
           • Plaintiff Great American Insurance Company is incorporated in Ohio
             and has its principal place of business in Ohio;
           • Defendant Orlando Museum of Art, Inc. is incorporated in Florida and
             has its principal place of business in Florida;
           • Defendant Basquiat Venice Collection Group is an unregistered de-
             facto joint-venture partnership, having the residence of its partners;
           • Defendant Pierce O’Donnell is a Texas domiciliary and a partner of
             defendant BVCG;
           • Defendant Taryn Burns is a California domiciliary and a partner of
             defendant BVCG; and
           • Defendant William Force is a California domiciliary and a partner of
             defendant BVCG.


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                 Summary of Related Case Orlando Museum of Art,
               Inc. v. De Groft, et al., No. 2023-CA-014410-0 pending
                in the Circuit Court of the Ninth Judicial Circuit in
                           and for Orange County, Florida
        On August 14, 2023, OMA filed suit against Aaron De Groft (as the ex-

  director of OMA) on the one hand, and Pierce O’Donnell, John Mangan, William

  Force, Taryn Burns, BVCG, the MJL Family Trust LLC, and Richard Li Puma (as

  owners/agents of the subject artwork), on the other. See Complaint and Demand for

  Jury Trial, attached as Exhibit A. 1 The suit was filed after the FBI raided the

  museum and seized 26 artworks that the owners loaned to OMA in connection with

  the exhibition, “Heroes and Monsters: Jean-Michel Basquiat, the Thaddeus

  Mumford, Jr. Venice Collection,” which was slated to be held at OMA between

  February 12, 2022 and June 30, 2023. See generally id. The FBI seized the works

  pursuant to a seizure warrant which set forth facts evidencing that they were

  posthumous forgeries and that therefore there was probable cause to believe that

  the paintings were evidence, fruits, and/or instrumentalities of violations of 18

  U.S.C. § 371 (conspiracy) and 18 U.S.C. § 1343 (wire fraud). See generally id.




  1
   The Court is respectfully asked to take judicial notice of the pleadings and other
  docketed filings in the related underlying state-court matter, captioned Orlando
  Museum of Art, Inc. v. Aaron De Groft, et al., bearing Civil Action Number 2023-
  CA-014410-O, filed in the Circuit Court of the Ninth Judicial Circuit in Orange
  County, Florida.

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        OMA sued for fraud, breach of fiduciary duty (De Groft), aiding and

  abetting breach of fiduciary duty, conspiracy, and breach of contract (O’Donnell,

  BVCG, Burns, Force, and the MJL Trust). See generally id. OMA has alleged both

  significant financial and reputational damages as a result of the defendants’ actions.

  See generally id.

        On January 19, 2024, OMA dismissed the action without prejudice as

  against all the defendants other than De Groft, due to economic unfeasibility—i.e.,

  the cost of litigation versus the poor likelihood of recovery from empty-pocket

  defendants.

                Summary of the Instant Declaratory Judgment Action
        As set forth in the accompanying declaration of Jean-Claude Mazzola (at

  ¶1), attached as Exhibit B, plaintiffs brought this declaratory judgment action

  based on the filing of a claim for coverage under OMA’s insurance policy with

  Liberty Mutual and Great American 2 by Defendants Pierce O’Donnell, William

  Force, and Taryn Burns, acting collectively as the BVCG, claiming a total loss of

  the seized paintings. Plaintiffs then sent the BVCG Defendants a courtesy copy of

  the complaint and requested that counsel accept service of process on behalf of

  their clients, however, counsel failed to reply. (Id., ¶ 2). The BVCG Defendants


  2
    The two plaintiff insurers issued a single policy, under which they agreed to share
  the risk. The percentage of the risk that each agreed to bear is not relevant to this
  motion.

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  filed a notice of removal on Wednesday, November 27, 2024, and thereafter

  waived service of process in the same email that notified counsel of the removal.

  (Id., ¶ 3). On Monday December 2, 2024, OMA waived service of process by email

  to plaintiffs’ counsel. (Id., ¶ 4).

         Plaintiff insurers brought suit against their policyholder OMA, and against

  the BVCG Defendants, for a declaration that Plaintiffs owe no duty to OMA or to

  the BVCG Defendants as additional insureds under the policy on grounds that the

  loss was not subject to coverage by Plaintiffs, because the artworks at issue are

  counterfeits (ECF 1-1 Exhibit 1 ¶ 4), and because of intentional or negligent

  misrepresentations made in connection with the loan to OMA, which voided the

  policy. (Id., ¶ 5)

         We understand that OMA, will also be moving to remand this case back to

  state court, also with the expectation that it will be consolidated with OMA’s

  underlying state court action. This will streamline discovery, avoid the potential for

  inconsistent results, and conserve the resources of both the courts and litigants.

                                        ARGUMENT
     I. Legal Standard
         “[A]ny civil action brought in a State court of which the district courts of the

  United States have original jurisdiction, may be removed . . . to the district court of

  the United States for the district and division embracing the place where such

  action is pending.” 28 U.S.C. § 1441(a). Removal can be challenged on both


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   jurisdictional and procedural grounds, and the removing party “bears the burden of

   proving that this Court has federal jurisdiction” and “establishing compliance with

   removal statute requirements.” Moultrop v. GEICO Gen. Ins. Co., 858 F. Supp. 2d

   1342, 1344 (S.D. Fla. 2012). In determining whether removal is procedurally

   proper, this Court must look to 28 U.S.C. § 1446(b)(2)(A), which states: “[w]hen a

   civil action is removed solely under section 1441(a), all defendants who have been

   properly joined and served must join in or consent to the removal of the action.”

     II. The BVCG Defendants Failed to Comply with Removal Statute
         Requirements; Snap Removal Has Been Rejected by the Courts Within
         the Eleventh Circuit, Particularly the Middle District of Florida.
         The BVCG Defendants removed this case from state court to this Court

   pursuant to 28 U.S.C. § 1441(a), on the ground of diversity jurisdiction but failed

   to demonstrate compliance with removal statute requirements because: (a) there is

   no representation that OMA consented to removal; (b) OMA, as the primary

   policy-holder, is properly joined to Plaintiffs’ action; and (c) snap removal is

   improper in this jurisdiction. This case must therefore be remanded.

      A. Defendant OMA did not Consent to the Removal.
         The BVCG defendants apparently believed that OMA’s consent to removal

   was not required by 28 U.S.C. § 1446(b)(2)(A); however, the courts within the

   Eleventh Circuit have roundly rejected the use of “snap removal” to defeat

   application of the forum-defendant rule. Here, there has been no representation by

   the BVCG Defendants that they obtained the consent of OMA prior to removing


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   this case to federal court, and in fact, OMA did not and does not consent. (OMA’s

   counsel advises that OMA will join in this motion, with separate papers in support

   of remand, and with additional arguments).

         Section 1441(b)(2) provides (with emphasis added) that “A civil action

   otherwise removable solely on the basis of the jurisdiction under section 1332(a) of

   this title may not be removed if any of the parties in interest properly joined and

   served as defendants is a citizen of the State in which such action is brought.” This

   is the forum-defendant rule, and it can be waived. North v. Precision Airmotive

   Corp., 600 F. Supp. 2d 1263, 1267 (M.D. Fla. 2009) (“Section 1441(b) is a

   waivable procedural requirement . . . .”) In this case, however, the rule has not been

   waived, which renders the notice of removal improper and remand obligatory.

      B. Removal is Improper; OMA is Properly Joined and There is No
         Evidence of Fraudulent Joinder
         The forum-defendant rule exists to prevent gamesmanship by a plaintiff,

   who otherwise may fraudulently join an in-state defendant against which the

   plaintiff has no real intent to litigate, in order to trigger the forum-defendant rule

   and prevent removal. Accordingly, courts in this jurisdiction have held that

   application of snap removal inverts the purpose of the statute. Goodwin v.

   Reynolds, 757 F.3d 1216, 1221 (11th Cir. 2014) (“[defendants’] argument, if

   accepted, would turn the statute’s ‘properly joined and served’ language on its

   head.”); see also Curtis v. Bruner, No. 9:19-CV-80739, 2019 U.S. Dist. LEXIS


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   130545, *6 (S.D. Fla. August 2, 2019) (“Under these circumstances, conversion of

   this otherwise unremovable case into a removable case because State Farm filed its

   Notice of Removal before Bruner could be served would create an absurd loophole

   in the forum-defendant rule. The Court concludes that the forum-defendant rule

   bars State Farm’s removal of this case.”).

         Indeed,

             When a defendant removes a case to federal court on diversity
             grounds, a court must remand the matter back to state court if
             any of the properly joined parties in interest are citizens of the
             state in which the suit was filed. See Lincoln Prop. Co. v. Roche,
             546 U.S. 81, 126 S. Ct. 606, 613, 163 L. Ed. 2d 415 (2005) (citing
             28 U.S.C. § 1441(b)). Such a remand is the necessary corollary of
             a federal district court’s diversity jurisdiction, which requires
             complete diversity of citizenship.
   Henderson v. Wash. Nat’l Ins. Co., 454 F.3d 1278, 1281 (11th Cir. 2006) (emphasis

   added).

         Here, the BVCG Defendants removed the case before accepting service of

   the complaint, as is also alleged in their notice of removal. (ECF 1 ¶ 19 (“This

   Notice is timely in that it is being filed before service of the Complaint on any

   Defendant and within thirty days of the filing of the Complaint.”)). The BVCG

   Defendants’ ground for removal seems to be that pre-service, or “snap” removal, is

   proper, despite OMA having been properly joined as a defendant. The BVCG

   Defendants, all out-of-state defendants, filed their notice of removal before the in-




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   state defendant OMA had waived service. Had OMA waived service before the

   BVCG Defendants filed their notice, this case would not have been removable.

         In order to avoid application of the forum-defendant rule, the BVCG

   Defendants must demonstrate, by clear and convincing evidence, that OMA was

   fraudulently joined. Henderson, 454 F.3d at 1281. The BVCG Defendants,

   however, have not argued, as part of their basis of removal or anywhere else, that

   OMA’s joinder was fraudulent. Plaintiffs did not bring suit against OMA “solely in

   order to defeat federal diversity jurisdiction.” Id. In addition, there is no evidence

   that there is either “no possibility the plaintiff can establish a cause of action

   against the resident defendant” or that Plaintiffs “fraudulently pled jurisdictional

   facts to bring the resident defendant to state court.” Id.

         Instead, Plaintiff insurers sought a declaration that they owe no duty to OMA

   or to the BVCG Defendants as additional insureds under the policy on grounds that

   the loss was not subject to coverage by Plaintiffs, because the artworks at issue are

   counterfeits and because of intentional or negligent misrepresentations made in

   connection with the loan to OMA, which voided the policy. Given that OMA is the

   policyholder, it is doubtful whether Plaintiffs could obtain any relief absent OMA’s

   inclusion in the litigation. In short, there is no basis to claim that OMA was

   fraudulently joined; to the contrary, OMA is a necessary party to this litigation.




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      C. Snap Removal Has Been Roundly Rejected in This Jurisdiction
         The propriety of snap removal is controversial. While many districts reject

   snap removal, a few accept it. Since 2014, however, this judicial district has found

   that snap removal is impermissible because it creates a loophole around the forum-

   defendant rule, and thereby turns the rule on its head. That is, this district (like the

   other districts within the Eleventh Circuit) has since 2014 rejected the afore-

   mentioned North decision, wherein the Middle District refused to remand, finding

   that “in a completely diverse case such as this one, a non-forum defendant that has

   not yet been served may remove a state court action to federal court under Section

   1441(b) notwithstanding the fact that the plaintiff has already joined—but not yet

   served—a forum defendant.” 600 F. Supp. 2d at 1270.

         North was an aberrational decision when it was issued, and simply is not the

   current state of the law in the Middle District of Florida. North’s holding rejecting

   remand after snap removal has long since been abandoned by courts in the Middle

   District of Florida, and elsewhere across the Eleventh Circuit. These courts favor

   the widespread view, based in consequentialism and legislative intent, that pre-

   service snap removal is not allowed when, but for service not yet having been

   completed on a joined in-state defendant, the forum-defendant rule would make the

   case un-removable.




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         The ground started to give way against North’s rule with Goodwin v.

   Reynolds, 757 F.3d 1216 (11th Cir. 2014). In Goodwin, a plaintiff brought suit in

   Florida against an in-state defendant who was not fraudulently joined, and two out-

   of-state defendants. As in the case at bar, the out-of-state defendants received a

   courtesy copy of the complaint from the plaintiff. The out-of-state Goodwin

   defendants then immediately removed the case to federal court before the in-state

   defendant was served. The district court remanded, and the out-of-state defendants

   appealed, arguing abuse of discretion. The Eleventh Circuit did not address

   whether the case was actually removable; instead, it stated that even if the case

   were removable, the district court did not abuse its discretion by remanding it. This

   was because (a) the removers had engaged in gamesmanship by removing the case

   right after receiving a courtesy copy of the complaint, before service of process

   could reasonably have been effectuated upon the in-state defendant, and (b)

   remand did not materially prejudice the appellants’ rights.

         The Middle District of Florida later clarified in Wolfe v. Schindler Elevator

   Corp., No. 8:14-cv-2448-T-24 AEP, 2014 U.S. Dist. LEXIS 160848 (M.D. Fla.

   Nov. 17, 2014), that the type of gamesmanship present in Goodwin was not

   required to justify remand. In Wolfe, a plaintiff brought a lawsuit in Florida against

   a Florida defendant (who was not fraudulently joined) and out-of-state defendant

   Schindler Elevator Corporation (“SEC”). SEC found out about the lawsuit from a



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   courthouse news service before either defendant had been served. It immediately

   removed. There was no gamesmanship by any of the parties. The court remanded,

   explicitly rejecting the reasoning of North:

            Plaintiffs have a non-frivolous claim against HCAA, the forum
            defendant, who was at all times properly joined and about to be
            served prior to removal. Just because SEC found out about the
            lawsuit from a source other than Plaintiffs themselves does not
            undermine the fact that SEC purposefully removed this case before
            Plaintiffs served either defendant in order to avoid the forum
            defendant rule. SEC’s exploitation of the forum defendant rule and
            the technicality that HCAA was not yet served does not insulate it
            from the Court's power to grant Plaintiffs a voluntary dismissal
            without prejudice. Instead, in order to ensure that Plaintiffs are able
            to choose and retain the state court forum that they are entitled to
            under § 1441(b)(2), SEC’s actions now require that Plaintiffs
            dismiss this case, file a new suit in state court against HCAA only,
            serve HCAA, and then add SEC to the lawsuit. This Court will
            grant Plaintiffs their requested relief due to SEC's manipulation of
            the forum defendant rule.
            The Court notes that SEC cites two Middle District of Florida
            cases, which predate Goodwin, that hold that in a diversity case, a
            non-forum defendant may remove a case despite the fact that a
            forum defendant has been joined as long as the forum defendant
            has not yet been served. See North v. Precision Airmotive Corp.,
            600 F. Supp.2d 1263, 1270 (M.D. Fla. 2009); ViSalus, Inc. v. Then,
            2013 U.S. Dist. LEXIS 97627, 2013 WL 3682239, at *3 (M.D. Fla.
            July 12, 2013). The Goodwin court specifically declined to address
            whether its case was, in fact, removable and assumed for the
            purposes of the decision that it was. See Goodwin, 757 F.3d at
            1220 n.12, 1222. Furthermore, even if removal was technically
            correct in the instant case, that does not mean that the Court is
            without the power to grant Plaintiffs’ request for dismissal.

   Wolfe, 2014 U.S. Dist. LEXIS, at *7-9 (emphasis in original).




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         As recently as 2023 Goodwin and Wolfe were relied upon in Jakob v. JP

   Morgan Chase Bank, N.A., No. 5:23-cv-664-JSM-PRL, 2023 U.S. Dist. LEXIS

   237648, *4-5 (M.D. Fla. December 21, 2023). In Jakob, a plaintiff brought a

   lawsuit in Florida against a slew of Florida defendants and an out-of-state

   defendant, Chase. Before any of the defendants had been served, Chase removed

   the case to federal court. The plaintiff had not joined a Florida defendant just to

   defeat removal; no gamesmanship was apparent by any party. The court granted

   remand upon the authority and reasoning of Goodwin and Wolfe, and numerous

   other cases across the Eleventh Circuit decided after Goodwin that all supported

   remand after snap removal.

         The lesson is simple. Where (a) an out-of-state defendant files a snap

   removal before service is effectuated upon a non-fraudulently joined in-state

   defendant, and where (b) service upon the in-state defendant would make the case

   non-removable under the forum-defendant rule (in other words, when the removing

   defendant files snap removal to get ahead of the forum-defendant rule), then (c)

   remanding the case to state court, even in the absence of unfair gamesmanship by

   any party, is not only proper, but likely obligatory, as the consent of an unserved

   defendant is still needed for removal to be proper under 28 U.S.C. § 1446(b)(2)(A).

         Indeed, district courts within in the Eleventh Circuit have gone so far as to

   describe remand after snap removal as being obligatory under the same



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   circumstances as in the case at bar. See, e.g., Curtis, U.S. Dist. LEXIS 130545, *6

   (“The Court concludes that the forum-defendant rule bars State Farm’s removal of

   this case.”). Either way, remand after snap removal is plainly appropriate here:

             Section 1441(b)(2) clearly contemplates a non-forum defendant
             such as Stage 29 being prohibited from removing a case against it
             to federal court. There is no question that Plaintiffs have the intent
             to fully proceed with their claims against the Florida Defendants,
             and had Plaintiffs served the Florida Defendants before Stage 29
             removed this case, the forum defendant rule would bar removal.
   Butler v. Stage 29 Media Productions, No. 20-20239-Civ, 2020 U.S. Dist. LEXIS

   265427, *7 (S.D. Fla. July 10, 2020).

         Therefore, removal by the BVCG Defendants was improper since OMA is a

   properly joined defendant. Remand can and should be granted to Plaintiffs.

    III. The Existence of a Related Case Also Supports Remand to Avoid Two
         Proceedings Arising from the Same Event; There is Also No “Clear
         Legal Prejudice” to the BVCG Defendants.
         Even if snap removal were permissible (which as set forth above in Point II,

   it is not) and even if the BVCG Defendants’ removal was not a transparent attempt

   to do an end-run around the forum-defendant rule (which, as also set forth above, it

   was) this Court should still use its discretionary powers to grant plaintiffs’ motion

   and remand this case because of the related action currently pending in state court.

   Permitting this case to proceed in federal court would create a duplicative

   proceeding whose outcome would turn on the same factual and legal issues as are

   currently being litigated in the related case of Orlando Museum of Art, Inc. v. De


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   Groft, et al., which would squander precious judicial and litigant resources and

   greatly increase the costs of litigation.

         Accordingly, remand is a proper exercise of this Court’s discretion.

   Goodwin, 757 F.3d at 1221 (“Because the likely purpose of this language [of 28

   U.S.C. § 1441(b)] is to prevent gamesmanship by plaintiffs, moreover, we cannot

   believe that it constrains the district court’s discretion under Rule 41(a)(2) to undo

   Defendants’ gamesmanship in the circumstances at bar.”)

         There is also no clear legal prejudice to the BVCG Defendants. Accordingly,

   defendants will not “lose a substantial right” in litigating this case in state court

   alongside the related case of Orlando Museum of Art, Inc. v. De Groft, et al. See

   Goodwin, 757 F.3d. at 1219 (“in most cases a dismissal should be granted unless

   the defendant will suffer clear legal prejudice, other than the mere prospect of a

   subsequent lawsuit, as a result.”) (citations omitted; emphasis in original);

   Pontenberg v. Boston Sci. Corp., 252 F.3d 1253, 1256 (11th Cir. 2001) (“the

   district court did not abuse its broad discretion in allowing Pontenberg to dismiss

   voluntarily her action . . . . Neither the fact that the litigation has proceeded to the

   summary judgment stage nor the fact that the plaintiff’s attorney has been

   negligent in prosecuting the case, alone or together, conclusively or per se

   establishes plain legal prejudice requiring the denial of a motion to dismiss.”)

   (citations omitted).



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                                    CONCLUSION
         Wherefore, Plaintiffs Liberty Mutual Insurance Company and Great

   American Insurance Company respectfully request that this case be remanded to

   the Circuit Court of the Ninth Judicial Circuit in and for Orange County, Florida.




   Dated:       New York, New York
                December 27, 2024
                                             Respectfully submitted,



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                      LOCAL RULE 3.01(g) CERTIFICATION
         I, Jean-Claude Mazzola, certify that, on December 23, 2024, I conferred

   with counsel for the BVCG Defendants concerning this motion to remand via

   telephone conference. The parties were unable to agree to a resolution of the

   motion.

   Dated:      New York, New York
               December 27, 2024

                                             Respectfully submitted,


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